            Case 1:20-cv-00763-RP Document 95 Filed 07/15/24 Page 1 of 2



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

STUDENTS FOR FAIR ADMISSIONS, INC., §
                                       §
          Plaintiff,                   §
                                       §
v.                                     §                                     1:20-CV-763-RP
                                       §
UNIVERSITY OF TEXAS AT AUSTIN, et al., §
                                       §
          Defendants.                  §

                                  AMENDED FINAL JUDGMENT

        On this date, the Court entered an order granting Defendants’ 1 Motion to Dismiss for

Mootness, (Dkt. 85), and Defendant-Intervenors’ 2 Motion to Dismiss for Mootness, (Dkt. 86). The

Court’s order dismissed as moot Plaintiff Students for Fair Admissions, Inc.’s (“SFFA”) claims.

Because the Court found that the case is moot, the Court did not reach SFFA’s cross-motion for

summary judgment, (Dkt. 87).




1 Defendants are The University of Texas at Austin (“UT Austin”); the Board of Regents of the University of

Texas System (the “UT System Board of Regents”); James B. Milliken, Chancellor of the University of Texas
System in his Official Capacity; Steven Leslie, Executive Vice Chancellor for Academic Affairs of the
University of Texas System in his Official Capacity; Daniel H. Sharphorn, Vice Chancellor and General
Counsel of the University of Texas System in his Official Capacity; Jay Hartzell, President of the University of
Texas at Austin in his Official Capacity; David J. Beck, Christina Melton Crain, Kevin P. Eltife, R. Steven
Hicks, Jodie Lee Jiles, Janiece Longoria, Nolan Perez, Kelcy L. Warren, and James C. “Rad” Weaver, as
Members of the Board of Regents in their Official Capacities; Daniel Jaffe, Interim Executive Vice President
and Provost; Rachelle Hernandez, Senior Vice Provost for Enrollment Management and Student Success;
and Miguel Wasielewski, Executive Director for Office of Admissions.
2 Defendant-Intervenors are eight UT Austin students—Adaylin Alvarez, Morgan Bennett, Brianna Mallorie

McBride, Liz Kufour, Desiree Ortega-Santiago, Nima Rahman, Alexandra Trujillo, and Rosaleen Xiong—and
three organizations—the Texas National Association for the Advancement of Colored People (the “Texas
NAACP”), the Black Student Alliance (the “BSA”), and the Texas Orange Jackets. (See Order, Dkt. 35).

                                                       1
          Case 1:20-cv-00763-RP Document 95 Filed 07/15/24 Page 2 of 2



       As nothing remains to resolve, the Court renders Amended Final Judgment pursuant to

Federal Rule of Civil Procedure 58.

       Accordingly, IT IS ORDERED that the case is CLOSED.

       SIGNED on July 15, 2024.


                                         _____________________________________
                                         ROBERT PITMAN
                                         UNITED STATES DISTRICT JUDGE




                                              2
